
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 97-1950

                          COASTAL OIL OF NEW ENGLAND, INC.,

                                Plaintiff, Appellant,

                                          v.

                                 TEAMSTERS LOCAL A/W
                       INTERNATIONAL BROTHERHOOD OF TEAMSTERS,

                                 Defendant, Appellee.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Reginald C. Lindsay, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                           Campbell, Senior Circuit Judge,
                                     ____________________

                              and Lynch, Circuit Judge.
                                         _____________

                                _____________________

               Alan  S. Miller, with  whom Stoneman, Chandler  &amp; Miller LLP
               _______________             ________________________________
          was on brief for appellant.
               Christine L. Nickerson, with whom Matthew E. Dwyer and Dwyer
               ______________________            ________________     _____
          &amp; Jenkins, P.C. were on brief for appellee.
          _______________



                                 ____________________

                                   January 23, 1998
                                 ____________________


















                    TORRUELLA, Chief  Judge.  Although this appeal presents
                    TORRUELLA, Chief  Judge.
                               ____________

          a somewhat novel question, the answer is more mundane.

                    Appellant employer  Coastal Oil  of New  England, Inc.,

          filed  an  Application  to  Vacate an  arbitration  award  in the

          Superior  Court of  the  Commonwealth  of  Massachusetts  on  the

          grounds that the arbitrator had exceeded his authority.  Appellee

          labor organization Teamsters Local Union No. 25 A/W International

          Brotherhood of Teamsters removed the  matter to the United States

          District Court for the District  of Massachusetts.  See 28 U.S.C.
                                                              ___

             1441,  1331; 29  U.S.C.    185(a).   Both parties  filed cross

          motions for summary  judgment, whereupon the court  ruled against

          appellant and denied vacation of the arbitration award.  Instead,

          the district court granted appellee's  request that the award  be

          enforced.   Final judgment was entered thereafter and this appeal

          followed.

                    Appellant   operates  three   separate  facilities   in

          Massachusetts,  including one  in  Revere  and  one  in  Chelsea.

          Although  they  are  all  represented for  collective  bargaining

          purposes  by  appellee,  the  employees  in  each  of  the  three

          facilities belong to separate bargaining units and are covered by

          discrete collective bargaining agreements. 

                    Joseph   Abruzzese,  a   yardman   within  the   Revere

          bargaining unit,  was injured in a work-related accident in 1991,

          forcing him to take a leave  of absence, during which he received

          benefits  under  the  Massachusetts  Worker's  Compensation  Act.

          Mass.  Gen. Laws  ch. 152,    1  et seq.   In  August 1995,  when
                                           _______


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          Abruzzese  sought  to  return  to  work,  no  job  openings  were

          available  in the  Revere  unit.    Nevertheless,  appellant  and

          appellee  reached an agreement that Abruzzese would be reinstated

          to  the next available position.  Subsequently, Abruzzese learned

          that a  yardman position was  available in the Chelsea  unit, the

          same job  that he  had previously  had in  the Revere  unit.   He

          applied for  that slot  through his union,  appellee.   Appellant

          refused the request,  contending that Abruzzese only  had a right

          to  reinstatement  in the  Revere  unit.   After  appellant hired

          someone else to the Chelsea  position, appellee filed a grievance

          pursuant to the Revere contract.

                    Eventually, the dispute was heard before an arbitrator.

          After hearing  the evidence,  the arbitrator  concluded that  the

          issue  to be  decided  was  "whether  the  Company  violated  the

          [Revere] Agreement when it refused  to place Joseph Abruzzese . .

          . in a position of yardman at the Company's Chelsea terminal  . .

          .  ."   Thereafter, the  arbitrator concluded  that Article  XIV,

          Section 10(a)  of the  Revere Agreement,  which incorporated  the

          Massachusetts Worker's Compensation  Law, mandated the employment

          of Abruzzese at the open position in Chelsea.  Appellant was thus

          ordered to reinstate him to the  Chelsea position and to make him

          whole as to back pay and lost benefits.

                    Appellant's challenge  to the district  court's rulings

          stems  from its  contention  that  the  arbitrator  exceeded  his

          authority  under  the Revere  collective bargaining  agreement by

          ordering the employment of a member of that unit into the Chelsea


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          unit.   As a corollary to  that issue, appellant  claims that the

          arbitrator   lacked   authority   to   interpret   the   Worker's

          Compensation Act.

                    Labor arbitration is the product of the private will of

          voluntarily consenting parties.  Thus, the starting point, and in

          a real sense the finishing one in  this, as in most challenges to

          arbitration  awards, is the language of the collective bargaining

          contract.   Such  language  establishes  the  parameters  of  the

          arbitrator's authority.

                    We commence  our quest  for the  answers to  the issues

          raised by  this appeal with  a reading  of Article  XVIII of  the

          Revere Agreement entitled  "Grievance Procedure," which  provides

          in Section 2, in effect, that in exchange for labor peace "during

          the  life   of  this   Agreement[,]  .  .   .  any   question  of

          interpretation,  enforcement,  adjustment  or  grievance  .  .  .

          between the employer and the Union and his employees which cannot

          be  adjusted[,]  .  . .  shall  be  referred  .  .  . to  .  .  .

          arbitration[,] . . . [which] . . .  decision . . . shall be final

          and binding upon both parties."

                    We  next proceed to  the specific provision  upon which

          the arbitrator relied  for his ruling, Article XIV, Section 10(a)

          of the Revere contract.  It states that:                         

             

                    The   Company   shall    either   carry   worker's
                    compensation  or, in the event of  an injury to an
                    employee,  shall provide  said  employee with  the
                    same benefits  and payments and in the same manner
                    as provided  by  the provisions  of  the  Worker's
                    Compensation  Law  (Massachusetts  G.L.,   Chapter

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                    152) and Amendments thereto,  up to and  including
                    the date of the signing of this Agreement.
                        
                    We  thus come  to  Section  75A  of  the  Massachusetts

          Worker's  Compensation   statute,  which  the   arbitrator  found

          applicable  to the submitted grievance under the previously cited

          contractual provision, and  which he interpreted to  require that

          Abruzzese be  reinstated to the Chelsea  position notwithstanding

          his previous employment outside that  unit.  Section 75A reads as

          follows:

                    Any person who  has lost a job  as a result  of an
                    injury  compensable under  this  chapter shall  be
                    given preference  in hiring  by  the employer  for
                    whom he worked at  the time of compensable  injury
                    over any  persons not  at the time  of application
                    for  re-employment  employed   by  such  employer;
                    provided,   however,  that   a  suitable   job  is
                    available.    Actions  may  be  filed  under  this
                    section with the superior  court department of the
                    trial court  for the  county in which  the alleged
                    violation  occurred.   An  employer found  to have
                    violated this section shall be  exclusively liable
                    to  pay to  the employee  lost wages,  shall grant
                    the employee  a suitable job, and  shall reimburse
                    such  reasonable  attorney  fees incurred  in  the
                    protection of  rights granted  by this section  as
                    shall be determined by the court.

                    In the  event that  any right  set  forth in  this
                    section   is  inconsistent   with  an   applicable
                    collective   bargaining   agreement   or   chapter
                    thirty- one,  the collective  bargaining agreement
                    or said chapter thirty-one shall prevail.

                    Although we have often stated  the following principle,

          due to the number of groundless appeals that have come before  us

          challenging   arbitration  awards,   it  bears   repeating  that:

          "[j]udicial review of an arbitration award is among the narrowest

          known  to the  law."   Maine  Cent.  R.R. Co.  v.  Brotherhood of
                                 ______________________      ______________

          Maintenance of Way Employees, 873  F.2d 425, 428 (1st Cir. 1989).
          ____________________________

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          For courts  "do not sit to hear claims  of factual or legal error

          by  an arbitrator[,]  as  an appellate  court  does in  reviewing

          decisions  of lower courts."   United Paperworkers Int'l Union v.
                                         _______________________________

          Misco, 484 U.S.  29, 38 (1987).  In fact, "[f]ederal court review
          _____

          of arbitral  decisions  is extremely  narrow and  extraordinarily

          deferential."  Service Employees Int'l Union v. Local 1199, N.E.,
                         _____________________________    ________________

          70 F.3d 647, 651 (1st Cir. 1995).

                    "[A] court should  uphold an award that  depends on the

          arbitrator's interpretation of a  collective bargaining agreement

          if it  can find, within  the four  corners of the  agreement, any

          plausible  basis  for that  interpretation." El  Dorado Technical
                                                       ____________________

          Servs., Inc. v. Uni n General de Trabajadores de Puerto Rico, 961
          ____________    ____________________________________________

          F.2d 317,  319 (1st Cir. 1992).  That  a court would have decided

          an issue differently is not  a basis for overruling an arbitrator

          if the  arbitrator "even arguably  acted within the scope  of his

          authority."  Misco, 484 U.S. at 38.
                       _____

                    Absent a claim  that the award is  against an explicit,

          well-defined, and dominant  public policy, see Service  Employees
                                                     ___ __________________

          Int'l Union, 70  F.3d at 652, the  scope of review is  limited to
          ___________

          claims  that  the  arbitrator's decision  is:  "(1)  unfounded in

          reason and fact;  (2) based on reasoning so  palpably faulty that

          no judge,  or group of  judges, ever could conceivably  have made

          such a  ruling; or (3)  mistakenly based on a  crucial assumption

          that  is concededly  a non-fact."    Local 1445  United Food  and
                                               ____________________________

          Commercial Workers Int'l Union v. Stop &amp; Shop Cos., 776  F.2d 19,
          ______________________________    ________________

          21 (1st Cir. 1985).  And,  of course, "[a]n arbitrator's view  of


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          the scope  of the  issue .  . .  is entitled  to the  same .  . .

          deference  .   .  .   normally  accorded   to  the   arbitrator's

          interpretation of  the collective  bargaining agreement  itself."

          Larocque v.  R.W.F., Inc., 8 F.3d 95, 97  (1st Cir. 1993).  Based
          ________     ____________

          on  these well-established principles, the outcome of this appeal

          is preordained.

                    Although the scope of the reinstatement remedy provided

          through an arbitral  award is usually limited  to the contractual

          bargaining  unit  from  which the  grievance  arises,  a contrary

          result  is not  unheard of  where the  parties have  bargained to

          grant the arbitrator  such power.  See supra.  The parties to the
                                             ___ _____

          collective  bargaining  agreement,  the  same entities  presently

          before us, voluntarily contracted to submit to  final and binding

          arbitration  any question of interpretation of that agreement, or

          any  grievance involving  employees.    It  cannot  be  seriously

          contended  that  the  underlying controversy  submitted  to,  and

          litigated  before, the  arbitrator  does  not  concern  both  the

          interpretation  of the collective bargaining agreement as well as

          a grievance  involving an employee.   How can the  arbitrator, in

          determining  whether  appellant  lived  up  to  the   contractual

          obligations  mandated  by Section  10(a)  of Article  XIV  of the

          Revere Agreement, fail to address  whether the provisions of  the

          Massachusetts Worker's  Compensation Law, incorporated  into that

          agreement by Section 10(a), have been met?

                    The response to this question as well as to appellant's

          challenge   to  the  arbitrator's   authority  to  interpret  the


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          aforementioned Massachusetts statute is self-evident.  Obviously,

          the  arbitrator  acted  properly  and  within  the  scope of  his

          delegated authority.  We can perceive of no valid reason  why the

          parties  could not also  agree to have  statutory rights enforced

          before   an   arbitral    forum.      See,   e.g.,    Gilmer   v.
                                                ___    ____     ______

          Interstate/Johnson  Lane Corp., 500  U.S. 20, 35  (1991) (holding
          ______________________________

          ADEA  claims to be arbitrable); Bercovitch v. Baldwin Sch., Inc.,
                                          __________    __________________

          1998 WL 5845, __ F.3d __  (1st Cir. 1998) (ADA claims subject  to

          arbitration);  (Patterson v. Tenet Healthcare, Inc., 113 F.3d 832
                          _________    ______________________

          (8th Cir. 1997)  (extending Gilmer to Title VII  claims); Mago v.
                                      ______                        ____

          Shearson Lehman Hutton,  Inc., 956 F.2d 932, 935  (9th Cir. 1992)
          _____________________________

          (extending Gilmer to Title VII  claims); Utley v. Goldman Sachs &amp;
                     ______                        _____    _______________

          Co., 883 F.2d 184, 186 (1st  Cir. 1989) (holding inter alia Title
          ___                                              __________

          VII claims to be arbitrable); cf. Shearson/American Express, Inc.
                                        ___ _______________________________

          v. McMahon, 482 U.S. 220, 238 (1987) (holding Securities Exchange
             _______

          Act and RICO claims to be arbitrable); Mitsubishi Motors Corp. v.
                                                 _______________________

          Soler  Chrysler-Plymouth, Inc., 473 U.S. 614, 640 (1985) (holding
          ______________________________

          Sherman Act claims to be arbitrable).

                    A   cursory  reading  of  that  statute  leads  to  the

          inevitable conclusion that  the arbitrator's ruling in  this case

          was not  only clearly  within the  powers granted  to him  in the

          collective bargaining agreement, it  is substantially the  remedy

          that  the Massachusetts  Superior Court  would  likely have  felt

          required to grant Joseph Abruzzese  given that the appellant is a

          single, unitary employer, for workman's compensation purpose.  As

          a result, its  trinary profile, for labor  relations purposes, is


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          presently  irrelevant.   We note that  our views as  to the legal

          soundness of the arbitrator's conclusions are largely gratuitous,

          for as previously stated, even an erroneous interpretation of the

          law by an  arbitrator is not subject  to judicial review  if that

          authority has been delegated to the arbitrator, as it was in this

          case.

                    The  decision of the district court is AFFIRMED.  Costs
                                                           AFFIRMED
                                                           ________

          are granted to appellee.






































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